Case 5:17-cv-02514-JGB-SHK Document 253-4 Filed 04/06/20 Page 1 of 5 Page ID
                                 #:5172




                       EXHIBIT D
     Case 5:17-cv-02514-JGB-SHK
               Case 2:20-cv-01093 Document
                                  Document 253-4 Filed04/01/20
                                           2-32 Filed  04/06/20 Page
                                                                 Page12ofof45 Page ID
                                        #:5173


 1

 2

 3
                          IN THE UNITED STATES DISTRICT COURT
 4                      FOR THE EASTERN DISTRICT OF LOUISIANA
 5

 6    DADA, et al.,                              Case No:
 7
                       Petitioners-Plaintiffs,
 8
             v.
 9                                               DECLARATION OF ATTORNEY
      WITTE, et al.,                             MARIEL VILLARREAL
10
                       Respondents-Defendants.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Declaration of Attorney MARIEL VILLARREAL
     Case 5:17-cv-02514-JGB-SHK
               Case 2:20-cv-01093 Document
                                  Document 253-4 Filed04/01/20
                                           2-32 Filed  04/06/20 Page
                                                                 Page23ofof45 Page ID
                                        #:5174


 1
           I, Mariel Villarreal, declare under penalty of perjury, pursuant to Title 28, Section 1746 of
 2
           the United States Code, that the following is true and correct to the best of my knowledge:
 3
        1. My name is Mariel Villarreal. I am an immigration attorney at non-profit organization
 4
           Pangea Legal Services, located at 350 Sansome St. Suite 650, San Francisco, CA 94104.
 5
           All times in this declaration will be in Pacific Standard Time, unless specified otherwise,
 6
           as that is the time zone in which I work.
 7
        2. Our office represents Jennifer Isabel Avalos Barrios (“Ms. Avalos Barrios”) in her
 8
           immigration proceedings. I am currently representing Ms. Avalos Barrios in her
 9
           proceedings before the LaSalle Immigration Court.
10
        3. Ms. Avalos Barrios is a 24-year-old Guatemalan national who has been detained by
11
           Respondents at the LaSalle Detention Facility since approximately December 11, 2019.
12
        4. On March 25, 2020, I had a video teleconference (“VTC”) meeting scheduled with Ms.
13
           Avalos Barrios via Skype at 9:00am PST (11:00am CT). I did not receive a call at the
14
           scheduled time.
15      5. At 9:32am, I emailed the facility’s visitation request email address as well as Ms. Susan
16         Morris at Geo Group—with whom I have corresponded to set up VTC calls with Ms.
17         Avalos Barrios in the past—stating that I had not been called for my meeting.
18      6. At 9:42am, I received a text message from Ms. Avalos Barrios’s sister, Nereyda Avalos
19         Barrios, stating that her sister, Ms. Avalos Barrios, had called her extremely distraught
20         saying that officials in the detention center were letting out tear gas and that people were
21         fainting. In a second text message, Ms. Avalos Barrios’s sister told me that Ms. Avalos
22         Barrios said everyone was coughing and screaming.
23      7. At 10:05am, I called the Geo Group – Immigration and Customs Enforcement (“ICE”)
24         Processing Center in Jena, Louisiana. I left a voicemail message to which I did not receive
25         a call back.
26      8. At 10:08am, I emailed Ms. Morris and the visitation request email address again, stating
27         that I heard tear gas was used on individuals in the detention center and that I was
28


                                                                                                       1
     Case 5:17-cv-02514-JGB-SHK
               Case 2:20-cv-01093 Document
                                  Document 253-4 Filed04/01/20
                                           2-32 Filed  04/06/20 Page
                                                                 Page34ofof45 Page ID
                                        #:5175


 1
           concerned for my client. I asked for more information. I did not receive a response to that
 2
           email.
 3
        9. At 11:50am, I received a call from Ms. Avalos Barrios from the LaSalle Detention
 4
           Facility. During our phone call, Ms. Avalos Barrios told me that she was not able to have
 5
           the VTC call with me that morning because she and the entire female population at
 6
           LaSalle Detention Facility had been tear gassed.
 7
        10. Ms. Avalos Barrios proceeded to tell me that the approximately 80 women detained at the
 8
           LaSalle Detention Facility were receiving a presentation from officers about COIVD-19.
 9
           Ms. Avalos Barrios informed me that during the presentation, the women had questions
10
           about the virus and were expressing fears about their safety in the detention center. Ms.
11
           Avalos Barrios stated that the women’s questions were going unanswered and their
12
           concerns were being ignored by the officers.
13
        11. Ms. Avalos Barrios then informed me that the officers grew impatient and angry with the
14
           women and released tear gas into the room where they were giving the presentation. The
15         officers promptly left the room and locked the doors.
16      12. Ms. Avalos Barrios told me that her and the rest of the women were left locked inside the
17         room with tear gas for approximately one hour. She stated that the women were screaming
18         to be let out of the room, but no one came to their aid.
19      13. Ms. Avalos Barrios stated that the women were coughing, crying, and that some fainted
20         throughout the approximately one hour that they were locked in the room with tear gas.
21      14. Ms. Avalos Barrios said that after approximately one hour, officers came and unlocked the
22         doors, and they entered wearing full protective face gear to prevent effects of the tear gas.
23      15. Ms. Avalos Barrios informed me that, as we were speaking, her eyes were red and burning
24         and that her whole neck area and throat were in pain.
25      16. In the middle of our conversation, the call was lost and I did not receive a call back from.
26         Ms. Avalos Barrios. I called the ICE Processing Center to attempt to be reconnected with
27         Ms. Avalos Barrios, but I was informed that it was not possible at that time.
28


                                                                                                       2
     Case 5:17-cv-02514-JGB-SHK
               Case 2:20-cv-01093 Document
                                  Document 253-4 Filed04/01/20
                                           2-32 Filed  04/06/20 Page
                                                                 Page45ofof45 Page ID
                                        #:5176


 1

 2   Dated: April 1, 2020          Respectfully submitted,
 3
     Oakland, California                  ____/s/Mariel Villarreal___
 4

 5                                        Mariel Villarreal
 6                                        Pangea Legal Services
                                          Immigration Attorney
 7                                        Pangea Legal Services
                                          350 Sansome St., Suite 650
 8                                        San Francisco, CA 94104
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                                                   3
